          Case 1:18-cr-02945-WJ Document 382 Filed 12/22/21 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO
                                   ____________________


UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                                                     No. 18-CR-2945-WJ

JANY LEVEILLE,

               Defendant.


       ORDER GRANTING DEFENDANT’S MOTION TO SEAL COMPETENCY
                      PROCEEDINGS ON 1/13/2022

       THIS MATTER comes before the Court following Defendant’s Motion to Seal

Competency Proceedings (Doc. 379) to be held on January 13, 2022.

       Rule 49.1(e) of the Federal Rules of Criminal Procedure states: “For good cause, the court

may by order in a case: (1) required redaction of additional information; or (2) limit or prohibit a

nonparty’s remote electronic access to a document filed with the court.” Fed. R. Cr. P. 49.1(e).

Furthermore, the Court has “discretion to allow the sealing of documents if the public’s right of

access is outweighed by other interests.” Simpson v. Kansas, 593 F. App’x 790, 799 (10th Cir.

2014). To overcome the presumption against sealing, “the party seeking to seal records must

articulate a real and substantial interest that justifies depriving the public of access to the records

that inform [the court’s] decision-making process.” Id.

       The Court finds that the public’s right of access is outweighed by Defendant’s substantial

interest in her private medical history and confidential communications with treatment providers,

her lawyers, and others involved in her treatment.
       Case 1:18-cr-02945-WJ Document 382 Filed 12/22/21 Page 2 of 2




     THEREFORE, Defendant’s Motion to Seal Competency Proceedings (Doc. 379) is

hereby GRANTED.

     IT IS SO ORDERED.




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                                   WILLIAM P. JOHNSON
                                   CHIEF UNITED STATES DISTRICT JUDGE
